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AO 91 (Rev. 08/09) Criminal Complaint
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                                                                    for the
                                                           Western District of Texas
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                  United States of America                             )
                            v.                                         )
                       VEGA, Yobany
                                                                       )       Case No.   &-&              t'ii_01ot1i
                                                                       )

                                                                       )

                                                                       )
                           Defendant(s)


                                                        CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  December 06, 2024                 in the county of               Maverick                 in the
     Western           District of              Texas              , the defendant(s) violated:


            Code Section                                                     Offense Description
                                                Unlawfully, knowingly, and intentionally import or cause to be imported a
Title 21 U.S.C. 952                             quantity of methamphetamine a Schedule II Controlled Substance, into the
                                        united States.
        This criminal complaint is based on these facts:
 See Attachment A




        E1Continued on the attached sheet.
                                                                                                  Complainant's signature


                                                                                          Anna EbersolejlSI Special Agent
                                                                                                   Printed name and title


Sworn to before me and signed in my presence.


Date:
                                                                                                     Judge's signature


City and state:                           Del Rio, Texas                                  A &h1       zis,
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        Case 2:24-cr-03452-EG          Document 1       Filed 12/09/24      Page 2 of 2




                                         Attachment A

On December 06, 2024, at approximately 04:00 hours, Yobany VEGA, a United States Citizen,
attempted to make entry into the United States via the Eagle Pass, Texas Port of Entry (POE)
Bridge 2. VEGA was the driver and sole occupant of a grey 2017 Nissan Murano bearing Texas
license VVBO814. During primary inspection, an NCIC system alert, due to VEGA's criminal
history of assault on a peace office, was displayed to the Customs and Border Protection Officer
(CBPO). In addition, the name on the registration did not match VEGA's. When asked by the
CBPO, VEGA stated that it belonged to his friend "Jose" and Jose just handed over the vehicle
to him in Piedras Negras, Mexico today. VEGA told the CBPO that he was in Mexico for the
past four days. These facts along with VEGA's behavior led the CBPO to refer the vehicle to
secondary inspection.

In secondary, VEGA told the CBPOs that the vehicle was actually his and he was still making
payments on it. After VEGA parked the vehicle in secondary, he was directed by CBPOs to sit in
the waiting area directly across from the parked vehicle. As VEGA was seated in the waiting
area, he was actively observing the CBPOs' inspection of the vehicle. Inside the vehicle, a
receipt for an insurance policy purchased on December 5, 2024, by VEGA was discovered.
There was no property inside the vehicle besides a charging cable. VEGA did not have any bags,
clothing, or personal items with him. The Record checks did not reveal any sale of the vehicle.

CBPOs began a manual inspection of the vehicle, including utilizing a mirror to look at the
undercarriage of the vehicle. CBPOs noticed a non-factory compartment box visible with Bondo
and black tar over spray. The muffler had been cut and rerouted towards the passenger side
leaving the factory space to be modified into a box. The CBPOs proceeded to inspect the front
passenger side and began tapping on the roof. While tapping on the roof, the CBPO noticed an
anomaly within the roof compartment. During the tapping on the roof, VEGA, who was actively
watching the inspection, looked away and lowered his head. VEGA began scratching his head
and then looked up at the CBPOs again. VEGA then observed the CBP K-9 inspect and
positively alert for the presence of narcotics in the vehicle. Once again VEGA looked away from
the CBPOs. After the positive alert VEGA was taken to the holding cell and the vehicle was
driven through a non-intrusive Z-Portal X-ray.

In the X-ray images, CBPOs noticed anomalies in the vehicle's roof and vehicle floor. The
CBPOs used a pry tool to access the roof's non-factory compartment. Inside this non-factory
compartment, was seven (7) duct taped wrapped packages. By removing the center console in the
vehicle, CBPOs were able to access the floor compartment. CBPOs extracted thirty-four (34)
packages from the floor compartment, for a total of forty-one (41) packages. All forty-one (41)
packages were tested by CBPOs using the GEMINI system and tested positive for properties of
Methamphetamine, a Schedule 11 Controlled Substance. The total (gross) weight of the packages
was approximately 133.63 kilograms.
Homeland Security Investigations Special Agents responded and advised VEGA of his Miranda
Rights. VEGA invoked his right to a lawyer and the interview was terminated. VEGA was
returned to the holding cell.
